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                           IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF SOUTH CAROLINA
                                     GREENVILLE DIVISION
                               Civil Action No. 6:18-CV-01327-DCC

JANE ROE,                                          )
                                                   )
     Plaintiff,                                    )
                                                   )
v.                                                 )
                                                   )         MOTION FOR ENTRY OF
FURMAN UNIVERSITY, BETA THETA PI,                  )
THE ZETA LAMBDA CHAPTER OF BETA                    )       CONFIDENTIALITY AND SEAL
THETA   PI,  UPSTATE    AFFILIATE                  )               ORDER
ORGANIZATION D/B/A GHS, AND JOHN                   )
DOE,                                               )
                                                   )
     Defendants.                                   )
                                                   )

           The attached proposed Confidentiality and Seal Order is requested by consent of all
parties.

        The attached proposed Confidentiality and Seal Order is a modified version of the
standard form on the court’s website and the modifications have been indicated by attaching a
“redlined” copy the document. An explanation of the basis for each proposed modification is as
follows:

        Furman University is subject to the Family Educational Rights and Privacy Act, 20
U.S.C. § 1232(g); 34 C.F.R. Part 99 et seq. (FERPA), which provides certain confidentiality
protections for the educational records of its students and former students. In light of these
privacy obligations on the part of Furman University, and the sensitive nature of the subject
matter of this civil action, Paragraph 4 of the proposed Confidentiality and Seal Order provides
specific protections for the exchange and filing of documents containing confidential student
educational information.

           This 4th day of October, 2018.

WE SO MOVE/CONSENT:



                                    [SIGNATURES APPEAR ON NEXT PAGE]




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s/ Joshua T. Hawkins                              s/ Joshua Snow Kendrick
Joshua T. Hawkins                                 Joshua Snow Kendrick
Helena L. Jedziniak                               Kendrick & Leonard, P.C.
Hawkins & Jedziniak, LLC                          506 Pettigru Street
1225 South Church Street                          Greenville, SC 29601
Greenville, SC 29605                              Tel: (864) 760-4000
Tel: (864) 275-8142                               josh@kendrickleonard.com
josh@hjllcsc.com                                  Attorneys for John Doe
Helena@hjllcsc.com
Attorneys for Plaintiff                           s/ Peter E. Farr
                                                  Peter E. Farr
s/ Stanley T. Case                                Ronald B. Diegel
Stanley T. Case                                   Murphy & Grantland, P.A.
Butler, Means, Evins & Browne, P.A.               P.O. Box 6648
234 North Church Street                           Columbia, SC 29260
P.O. Drawer 451                                   Tel: (803) 782-4100
Spartanburg, SC 29304                             pfarr@murphygrantland.com
Tel: (864) 582-5630                               rbdiegel@murphygrantland.com
scase@butlermeans.com                             Attorneys for John Doe
Attorneys for Plaintiff
                                                  s/ Justin Dillon
s/ Charles O. Williams, III                       Justin Dillon
Charles O. Williams, III                          Emily Voshell
Sterling G. Davies                                William Pittard
McAngus Goudelock & Courie, LLC                   KaiserDillon, PLLC
55 E. Camperdown Way, Suite 300                   1401 K Street NW, Ste., 600
Greenville, SC 29601                              Washington, DC 20005
Tel: (864) 239-4000                               Tel: (202) 640-2850
cwilliams@mgclaw.com                              jdillon@kaiserdillon.com
sdavies@mgclaw.com                                evoshell@kaiserdillon.com
Attorneys for Beta Theta Pi                       wpittard@kaiserdillon.com
                                                  Attorneys for John Doe
s/ W. Kyle Dillard
W. Kyle Dillard                                   s/ Kevin A. Dunlap
Ogletree, Deakins, Nash,                          Kevin A. Dunlap
  Smoak & Stewart, P.C.                           Federal Bar No. 5564
The Ogletree Building                             S.C. Bar No. 13081
300 North Main Street                             Parker Poe Adams & Bernstein LLP
Greenville, SC 29601                              100 Dunbar Street, Suite 206
Tel: (864) 271-1300                               Spartanburg, South Carolina 29306
kyle.dillard@ogletree.com                         p: (800) 727-8042
Attorney for Upstate Affiliate Organization       f: (864) 591-2050
d/b/a Greenville Health System                    kevindunlap@parkerpoe.com
                                                  Attorneys for Furman University




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